Case 3:14-cr-00020-PGS   Document 62   Filed 03/31/14     Page 1 of 5 PageID: 756
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                                                                  MAR 3 1 2014
                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY                AT 8:30             M
                                                                 WILLIAM T. WALSH
                                                                      CLERK



UNITED STATES OF AMERICA                          Criminal Action
                                                   No. 14-20-01&02(PGS)

          -vs-                                          ORDER FOR DISCOVERY
                                                            AND INSPECTION

KAMAL J. JAMES and CRYSTAL G.
HAWKINS


     In order to eliminate unnecessary motions for discovery in
this case, to eliminate delays in the presentation of evidence
and the examination of witnesses and to expedite the trial
pursuant to the provisions of the Speedy Trial Act of 1974,

      IT IS ORDERED:

     1. CONFERENCE . Within ten (10) days from the date hereof,
the United States Attorney or one of his or her assistants and
the defendant's attorney shall meet and confer and the government
shall:

            (a) Permit defendant's attorney to inspect and
      copy or photograph any relevant written or recorded
      statements or confessions made by the defendant, or
      copies hereof, within the possession, custody or
      control of the government, the existence of which is
      known, or may become known, to the attorney for the
      government;

            (b) Permit defendant's attorney to inspect and
      copy or photograph any relevant results or reports of
      physical or mental examinations, and of scientific
      tests or experiments made in connection with the case,
      or copies thereof, within the possession, custody or
      control of the government, the existence of which is
      known, or may become known, to the attorney for the
      government;

           (c)  Permit defendant's attorney to inspect and
      copy or photograph any recorded testimony of the
      defendant before a grand jury;
Case 3:14-cr-00020-PGS   Document 62   Filed 03/31/14   Page 2 of 5 PageID: 757




           (d)  Permit the defendant's attorney to inspect
      and copy or photograph books, papers, documents,
      tangible objects, buildings or places which are the
      property of the defendant and which are within the
      possession, custody, or control of the government;


           (e)  Permit the defendant's attorney to inspect
      and copy or photograph the defendant's prior criminal
      record in the possession of the attorney for the
      government;

            (f) Permit the defendant's attorney to inspect,
      copy or photograph any exculpatory evidence within the
      purview of Brady v. Maryland.

            (g) If there is more than one defendant named in
      the indictment, and if the government intends to
      introduce into evidence in its case in chief a
      confession made to law enforcement authorities by one
      defendant which names or makes mention of a co-
      defendant, then the government must make a copy of that
      statement or confession available to counsel for the
      non-declarant defendant, along with a proposal for its
      redaction to conform with the requirements of Bruton v.
      United states.  If the government makes no such
      disclosure and turnover within the time period allowed,
      the confession may not be received at a joint trial of
      the declarant and non-declarant defendants.  If, within
      ten (10) days after receipt of the confession and its
      redacted version, counsel for the non-declarant
      defendant makes no objection to the redacted statement,
      he or she will be deemed to have acceded to the receipt
      of the redacted statement into evidence.

           (h)  The obtaining of discovery by a defendant or
     his or her attorney as provided in paragraph l(b) and
     l(d) shall be deemed a request for discovery for
     purposes of Rule 16(b), F.R.Cr.P.  In the event the
     defendant wishes to decline all or part of the
     discovery required to be provided in paragraph l(b) and
     l(d), he or she shall so notify the United States
     Attorney or one of his or her assistants prior to
     obtaining such discovery.  In the event the defendant
     declines discovery, the government shall have no
     obligation to provide discovery under the provisions of
     paragraph l(b) or l(d) of this Order.
Case 3:14-cr-00020-PGS   Document 62   Filed 03/31/14   Page 3 of 5 PageID: 758




     2.  DISCLOSURE DECLINED . If, in the judgment of the United
States Attorney, it would be detrimental to the interests of
justice to make any disclosures set forth in paragraph 1,
disclosure may be declined, and defense counsel advised in
writing of the declination within five (5) days of the
conference.

     If the defendant seeks to challenge the declination he or
she may move the court for relief in the following manner:

           (a) No later that five (5) court days from the
      time that the government declines, the defendant shall
      files a motion for discovery or inspection.

           (b)  The motion shall notice a hearing on the next
      appropriate motion day pursuant to the provisions of
      General Rule 12 of the General Rules of this court.

           (c)  The motion shall set forth (1) the statement
      that the prescribed conference was held; (2) the date
      of the conference; (3) the name of the Assistant United
      States Attorney with whom the conference was held; (4)
      the matters which were agreed upon; and (5) the matter
      which are in dispute and which required the
      determination of the court.

     3. CONTINUING DUTY. Any duty or disclosure and discovery
set forth herein is a continuing one and the United States
Attorney shall produce any additional information gained by the
government.

     4.  EXHIBITS. The government shall pre-mark all exhibits
which it intends to introduce as part of its direct case and
shall permit defendant's attorney to inspect and copy these
exhibits 30 days prior to the commencement of trial. A set of
such pre-marked exhibits with an exhibit list should be turned
over to the deputy clerk before or at the outset of trial.
Unless declined by notice to the United States Attorney or one of
his or her assistants, the opportunity to inspect and copy the
Government's exhibits shall be deemed a request for discovery for
purposes of Rule 16(b), F.R.Cr.P. The defendant's exhibits shall
also be pre-marked but need not be disclosed until actually used
at trial or when ordered by the court. The government shall also
pre-mark all Jencks Act materials so that no trial delay is
encountered by marking such materials at the time of turnover to
defendant's counsel.
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                Case 3:14-cr-00020-PGS                   Document 62   Filed 03/31/14   Page 4 of 5 PageID: 759




                     5. AUTHENTICITY OF EXHIBITS . The authenticity of all
                exhibits examined by defense counsel pursuant to the provisions
                of paragraph 4 of this Order will be deemed to have been accepted
                by the defendant unless defense counsel files with the court, 14
                days prior to the date of trial, a notice that the authenticity
                of the exhibits will be contested by the defendant at trial,
                together with a statement delineating why the authenticity of the
                exhibits is being challenged together with a certification that
                the challenge to authenticity is being made in good faith.

                     6. CHAIN OF POSSESSION . When defense counsel has examined
                an exhibit pursuant to the provisions of paragraph 4 of this
                Order, the chain of possession of the exhibit will be deemed to
                have been accepted the defendant unless defense counsel files
                with the court, 14 days prior to the date of trial, a notice that
                the chain of possession of the exhibit will be contested by the
                defendant at trial together with a statement delineating that the
                exhibit is being so challenged and a certification that the
                challenge is being made in good faith.



                     7.  SCIENTIFIC ANALYSIS. When the government has disclosed
                to defense counsel, at the conference set forth in paragraph 1,
                the scientific analysis of an exhibit proposed to be introduced
                at the trial by the government, which analysis has been
                determined by an expert in the field of science involved, then
                the scientific analysis of the exhibit will be deemed admitted
                unless defense counsel files with the court prior to fourteen
                (14) days of the trial a notice that the scientific analysis of
                the exhibit will be contested.

                     8.   OTHER MOTIONS BY DEFENDANT . Motions regarding defenses
                or objections permitted pursuant to Rules 12 and 4l(e),
                F.R.Cr.P., including inter alia motions for suppression of
                evidence, shall be made within thirty (30) days from the date
                hereof unless good cause for delay is shown.  In the case of
                discovery matters covered by other provisions of this Order , the
                time and procedure specified in such provisions shall govern.

                THIS AMENDMENT IS IN ACCORDANCE WITH LOCAL RULE 12 F .
Case 3:14-cr-00020-PGS   Document 62   Filed 03/31/14   Page 5 of 5 PageID: 760




      9.   MOTION AND TRIAL SCHEDULE.

           Ordered defense motions be filed by April 11,2014

           Ordered government's reply be filed by April 24, 2014

           Ordered motions returnable on May 1, 2014 at 10:00 a.m.

           TRIAL DATE May 15, 2014 at 10:00 a.m.

    10. Ordered that proposed voir dire questions and reauests
to charge be furnished to the Court 5 days prior to the date of
trial.




                                           PETER G. SHERIDAN, U.S.D.J.




DATED: March 31, 2014
